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IN THE UNITED STATES DISTRICT COURT a OTT ae
FOR THE DISTRICT OF MARYLAND “wo
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GPU,
UNITED STATES OF AMERICA ™
*
Vv. * CRIMINAL NO. RYT 10 CR 0694
*
LAUREN STEVENS, 2 (Obstruction of Proceeding, 18 U.S.C. §
* 1512; Falsification/Concealment of
Defendant * Documents, 18 U.S.C. § 1519; False
* Statements, 18 U.S.C. § 1001; Aiding and
- Abetting, 18 U.S.C. § 2)
*
RKKRKKEK
INDICTMENT

The Grand Jury for the District of Maryland charges that:
INTRODUCTORY ALLEGATIONS
At times material to this Indictment, unless otherwise alleged:
Background

I. Defendant LAUREN STEVENS was the Vice President and Associate General
Counsel of a corporation hereinafter referred to as K-Corp.

2) K-Corp. was a corporation that manufactured, promoted, and distributed for sale
prescription drugs, including the drug hereinafter referred to as W-Drug.

3. On or about October 9, 2002, the United States Food and Drug Administration
("FDA") sent a letter to K-Corp. that stated that the FDA had become aware of information that
K-Corp. had possibly promoted the use of W-Drug for an unapproved use — specifically for
weight loss. The FDA asked K-Corp. about its W-Drug promotional programs and asked K-
Corp. to provide materials related to W-Drug promotional programs, including copies of all

slides, videos, handouts, and other materials presented or distributed at any K-Corp. program or
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activity related to W-Drug. In the letter, the FDA also asked K-Corp. to identify any
compensation provided to individuals involved in programs or activities related to W-Drug.

4. STEVENS was the Vice President and attorney at K-Corp. who was in charge of
K-Corp.’s response to the FDA's inquiry and investigation. As part of that response, STEVENS
led a team of lawyers and paralegals who gathered documents and information.

The FDA and the FDCA

5: The FDA was the federal agency of the United States responsible for protecting
the health and safety of the public by enforcing the FDCA The FDA's headquarters are located
within the District of Maryland.

6. With certain limited exceptions not pertinent here, a prescription drug could not
be distributed in interstate commerce without FDA approval. To gain FDA approval for a
particular use, data from well-controlled clinical studies had to demonstrate that the drug would
be safe and effective. As part of the approval process, the FDA also had to approve the drug's
labeling, which set forth detailed information about the drug, including the approved medical
conditions of use, dosages, and patient population(s).

7. Uses that were not in the approved labeling were known as off-label uses.

8. Under the FDCA, the drug's manufacturer, its representatives, and those speaking
on its behalf could not lawfully market and promote the drug for off-label uses.

9. The FDCA prohibited the distribution in interstate commerce of an unapproved
new drug or a misbranded drug. Promoting a drug for an unapproved use rendered the drug
misbranded.

10, The Division of Drug Marketing, Advertising, and Communications ("DDMAC")
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was the office within the FDA responsible for reviewing and investigating complaints about
alleged promotional violations and initiating enforcement actions for promotional activities that
were not truthful, balanced, and consistent with the approved labeling.

Li. W-Drug was approved by the FDA for a single use: the treatment of major
depressive disorder in patients age 18 or older.

STEVENS’ Collection of Information and Evidence of
K-Corp.’s Promotion of W-Drug for Unapproved Uses

12. On or about October 25, 2002, STEVENS participated in a telephone conference
call with representatives of the FDA in which the FDA informed K-Corp. that it expected
K-Corp. to attempt to obtain and provide to the FDA materials and documents presented at
K-Corp.-sponsored promotional programs by health-care professionals who were acting on
behalf of K-Corp., even if such materials and documents were not created by or under the
custody or control of K-Corp. During that call, STEVENS and K-Corp. agreed to seek to obtain
and provide to the FDA such presentation materials.

iS; On or about October 29, 2002, STEVENS sent a letter to the FDA in Rockville,
Maryland, in which she stated, in part:

You further confirmed that it is your expectation that [K-Corp.] attempt to obtain

and provide to you materials and documents presented at [K-Corp.]-sponsored

promotional programs, even if not created by, or under the custody or control of

[K-Corp.] We have committed to making a good-faith effort to obtain additional

presentation materials, and to provide them to you if we are able to obtain the

consent of the owner of such materials. We both recognize that some individuals

may refuse to provide the requested materials. In this event, we have agreed to

keep you informed of our inability to secure such materials.

14. In her October 29, 2002 letter, STEVENS also confirmed that the time period

covered by the FDA's request for information and materials was from January 1, 2001, to

October 9, 2002.
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15: In a teleconference with the FDA on or about November 5, 2002, STEVENS
agreed that K-Corp. would send a letter asking all health-care professionals who spoke on behalf
of K-Corp. regarding W-Drug within the specified time period to provide K-Corp. with any
materials used during their presentations on behalf of K-Corp. regarding W-Drug.

16. In preparing its response to this FDA inquiry, K-Corp. identified approximately
2,700 K-Corp. speakers who had given promotional talks on behalf of K-Corp. about W-Drug in
2001-2002.

17. Onor about December 12, 2002, STEVENS sent a letter to approximately 550 of
the 2,700 K-Corp. speakers who had given promotional talks on behalf of K-Corp. for W-Drug
and asked that they send in the slides and materials they used during these promotional talks.

In her letter, STEVENS stated "FDA has requested that [K-Corp.] provide all materials and
documents presented at [K-Corp.]- sponsored speaker programs for [W-Drug] during the years of
2001-2002."

18. K-Corp. received slides and other materials from approximately 40 of the
approximately 550 promotional speakers to whom STEVENS sent her December 12, 2002 letter.

19. STEVENS reviewed the slides and other materials produced by the
approximately 40 promotional speakers who responded to her December 12, 2002 letter.

20. ‘Thereafter, STEVENS sent letters to 28 of these promotional speakers in which
she stated that the slides and materials they had sent her contained information about unapproved
uses of W-Drug, in violation of the FDA's requirements. In each letter, STEVENS stated:

We have reviewed the content of your presentations and determined that they

contain material relating to [K-Corp.] products (e.g. [W-Drug]) and uses that are
not currently FDA-approved indications for those products. Any affirmative
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presentation in a [K-Corp.]-sponsored non-independent program suggesting that a
[K-Corp.] product is effective in conditions that are not approved indications is
inconsistent with FDA’s requirements, [K-Corp.] policy, and your contract with
[K-Corp.]

STEVENS' Collection of Information about Dr. P

21. While responding to the FDA’s inquiry, STEVENS gathered information that
demonstrated that a physician in Michigan (hereinafter "Dr. P.") had spoken at 488 W-Drug
promotional events sponsored by K-Corp. in 2001-2002.

22. In or about January 2003, STEVENS met with Dr. P. Around that time she
received his presentation slides, handouts distributed during his promotional presentations on
behalf of K-Corp., notes of his presentation, and an audio cassette of his lecture, which showed
that Dr. P repeatedly promoted the use of W-Drug for unapproved uses, including weight loss.

STEVENS' Collection of Information about Dr. H

23. While responding to the FDA’s inquiry, STEVENS gathered information that
demonstrated that a physician in Vermont (hereinafter "Dr. H") had spoken at 511 W-Drug
promotional events sponsored by K-Corp. in 2001-2002.

24. Prior to sending her responses to the FDA’s inquiry, STEVENS learned that
during these events Dr. H had repeatedly promoted the use of W-Drug for unapproved uses.

STEVENS' False Representations To and Concealing of Evidence from the FDA

25. | STEVENS signed and sent to the FDA a series of letters, with documents

enclosed, in which she made materially false statements and concealed and covered up

documents and other evidence that showed the extent of K-Corp.'s promotion of W-Drug for

unapproved uses.
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26. STEVENS made the false statements and withheld documents she recognized as

incriminating with the goal of curtailing further FDA investigation and avoiding or minimizing

any FDA regulatory action against K-Corp. and any other potential government investigations or

potential enforcement actions against K-Corp.

27. Despite her representation to the FDA in October 2002 that she would gather and

produce the slides used by promotional speakers on behalf of K-Corp., STEVENS nonetheless:

a.

represented that she had completed the production requested by the FDA
when in fact she had withheld from the FDA the slides she gathered from
the 40 doctors who produced their slides in response to STEVENS'
December 12, 2002 letter, which she had promised to produce and which
she recognized contained incriminating evidence of potential off-label
promotion by K-Corp.;

denied that K-Corp. had activities promoting W-Drug for uses other than
those consistent with the label even though she had determined that 28 of
those 40 doctors were using materials that discussed the use of W-Drug for
unapproved uses during W-Drug promotional presentations on behalf of
K-Corp;

claimed that K-Corp.’s activities were consistent with the product label
when she knew but did not disclose to the FDA that Dr. P, who had been a
top speaker for K-Corp. in 2001-2002, had routinely discussed off-label
uses of W-Drug in his promotional slides and handouts; and that she had
not produced the documents requested and promised by K-Corp.,
including the speaker slides, handouts, and audio cassette of Dr. P's
standard lecture that K-Corp. had gathered from Dr. P that reflected this
promotion for uses not consistent with the W-Drug label;

claimed that K-Corp.’s activities were consistent with the product label
when she knew, but did not disclose to the FDA, that Dr. H, the other top
W-Drug promotional speaker, had routinely used off-label materials in his
promotional slides and handouts; and she did not produce to the FDA the
speaker slides and handouts that K-Corp. had gathered from Dr. H.
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STEVENS' February 28, 2003 Letter

28. On or about February 28, 2003, STEVENS sent a letter to the FDA that included

the following false and misleading representations:

a.

"{K-Corp.] has not developed, devised, established, or maintained any
program or activity to promote or encourage, either directly or indirectly,
the use of [W-Drug] as a means to achieve weight loss or treat obesity. . . .
[K-Corp.]'s promotional material and activities for [W- Drug] are
consistent with the approved Prescribing Information and the

supporting clinical data."

"{K-Corp.] has not developed or maintained promotional plans or activities
to directly or indirectly promote [W-Drug] for weight loss or the treatment
of obesity."

"[K-Corp.] has two types of advisory boards — National Advisory Boards
and Local Advisory Boards. ... [K-Corp.], through its field-based Market
Development Managers, has established Local Advisory Boards in certain
sales regions for the purpose of obtaining specific advice from health care
professionals in that locale for [W-Drug] and/or issues relating to the
therapeutic area of depression. Pursuant to [K-Corp.] policy, no sales
region may have more than two Local Advisory Boards, and no such board
may meet more than twice per year."

29. By February 28, 2003, STEVENS knew that K-Corp. had maintained programs

and activities that directly and indirectly promoted and encouraged the use of W-Drug to achieve

weight loss and treat obesity, and that K-Corp.'s promotional activities for W-Drug had not been

consistent with the approved prescribing information.

30. By February 28, 2003, STEVENS knew that K-Corp. had paid numerous

physicians in 2001-2002 to give promotional talks about W-Drug that included slide

presentations about unapproved uses of W-Drug, including for weight loss.

31. By February 28, 2003, STEVENS knew that K-Corp. held many "special issue

boards” — in addition to national and local advisory boards concerning W-Drug. Dr. H and Dr. P
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presented information at many of these "special issue boards." Unapproved uses of W-Drug
were presented and promoted at many of the "special issue boards " that physicians were paid by
K-Corp. to attend.

STEVENS' March 28, 2003 Letter

32. On or about March, 28, 2003, STEVENS continued to conceal information and
materials from the FDA and sought to further mislead the FDA by sending the FDA a letter that
included the false and misleading representation with respect to speaker programs that:
"Attendees were not paid, reimbursed, or otherwise compensated to attend these events, with the
exception of reimbursement for parking fees in some cases."

33. By March 28, 2003, STEVENS also knew that attendees sometimes received
gifts, entertainment, and other compensation as part of W-Drug promotional events, but she
deliberately withheld this information from the FDA and falsely represented that no
compensation or reimbursement other than parking fees had been provided.

STEVENS' May 21, 2003 "Final" Letter and Completion of Production

34, As K-Corp. prepared to finish its response to the FDA’s inquiry, STEVENS
discussed with the other lawyers involved in responding to the FDA whether to produce the slide
sets and presentation materials gathered from the physicians who had made promotional
presentations on behalf of K-Corp. concerning W-Drug. STEVENS requested that other lawyers
involved in the response to the FDA prepare a memorandum summarizing their conversations
about the pros and cons of producing these slide sets to the FDA, even though STEVENS had
already committed to the FDA in writing that she would produce such materials.

35. On or about March 18, 2003, other lawyers involved in responding to the FDA

provided the memorandum that STEVENS had requested. This memorandum stated:
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"As you have requested, we are providing a list of the pros and cons of submitting
physician presentations on [W-Drug] to FDA...

Pros

—Responds to FDA’s request 5(a) for
copies of all materials presented by
individuals identified in response to
item 3 and relating to [W-Drug]

—Potentially garners credibility with
FDA

Cons

— Provides information that appears to
promote off-label uses of [W-Drug] for
weight loss as well as ADHD, sexual
dysfunction, and other unapproved uses

— Potentially demonstrates [K-Corp.]’s lack
of control over [K-Corp.] sales
representatives

—Potentially demonstrates |K-Corp.]’s lack
of control over physician speakers.

—Provides incriminating evidence about
potential off-label promotion of [W-Drug]
that may be used against [K-Corp.] in this or
in a future investigation."

36. | STEVENS determined not to produce any of the slide sets to the FDA with the

final production. Instead, on or about May 21, 2003, STEVENS sent a letter to the FDA which

stated that it was K-Corp.’s "final” response to the FDA’s requests and falsely stated: "With this

final submission, we complete our production of information and documents in response to the

requests in your letter dated October 9, 2002 and additional requests raised in your teleconference

with [K-Corp.] on January 21, 2003 concerning [W-Drug].”

37. In this final letter, STEVENS also continued to falsely represent that K-Corp. had

been promoting W-Drug consistently with the product label. She stated:

a. "In the final analysis, all of the information consistently and clearly points
to the same conclusion — [K-Corp.] has not developed, devised,
established, or maintained any program or activity to promote, either
directly or indirectly, the use of [W-Drug] to achieve weight loss or treat

obesity."

b, "{K-Corp.]’s promotional material and activities for [W-Drug] are
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consistent with the approved Prescribing Information and the supporting
clinical data. All of the documentation and materials we have reviewed
and provided to you during the course of this inquiry support this
conclusion."

STEVENS' November 6, 2003 Letter

38. In or about September 2003, STEVENS learned that an employee of K-Corp. had
reported K-Corp.’s promotion of W-Drug for unapproved uses to the FDA and had sent the FDA
a copy of the promotional slide presentations used by Dr. H and a physician in California
(hereinafter "Dr. F"). Both slide presentations contained information and claims about
unapproved uses of W-Drug.

39. On or about November 6, 2003, STEVENS sent a letter to the FDA in which she
stated that the issues raised by the sales representative "do not present any new issues." With the
letter, STEVENS produced to the FDA only the Dr. H and Dr. F slide sets she knew the FDA
had already received from the sales representative. STEVENS did not provide the FDA with
other promotional slides that K-Corp. had gathered from Dr. H and others.

40. In her November 6, 2003 letter to the FDA, STEVENS further sought to mislead
the FDA and deter further investigation or enforcement action by stating:

"Although there were isolated deficiencies, the objective evidence clearly demonstrates

that [K-Corp.] has not developed, maintained, or encouraged promotional plans or

activities to promote, directly or indirectly, [W-Drug] for weight loss, the treatment of
obesity, or any other unapproved indication."

41. By November 6, 2003, STEVENS knew that K-Corp. had held what was likely

more than 1,000 programs that were led by speakers whose presentation materials included off-

label information about W-Drug, and thus that these were not "isolated deficiencies."

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COUNT ONE
(Obstruction of a Proceeding)
1. Paragraphs | through 41 of the Introductory Allegations are incorporated here.
2. From in or about October 2002 and continuing through at least in or about January

2004, in the District of Maryland and elsewhere, the defendant,

LAUREN STEVENS,
in a matter within the jurisdiction of the FDA, the Department of Health and Human Services
(HHS), and the Department of Justice (DOJ), agencies of the executive branch of the government
of the United States, attempted to and did corruptly obstruct, influence, and impede an official
proceeding, by making false and misleading statements to the FDA, and by withholding and
concealing documents and other information about promotional activities by K-Corp. for W-
Drug, including for unapproved uses, while representing that she had completed the response to

the FDA,

18 U.S.C. § 1512
18 U.S.C. § 2
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COUNT TWO
(Falsification/Concealment of Documents)
E. Paragraphs | through 41 of the Introductory Allegations are incorporated here.
2 From in or about October 2002 through at least in or about January 2004, in the

District of Maryland and elsewhere, the defendant,

LAUREN STEVENS,
in a matter within the jurisdiction of the FDA, HHS, and DOJ, agencies of the executive branch
of the government of the United States, knowingly concealed, covered up, and falsified records,
documents and tangible objects with the intent to impede, obstruct, and influence the
investigation and proper administration of a matter within the jurisdiction of the FDA, HHS, and
DOJ, agencies of the United States, and in relation to and contemplation of any such matter, in
that she sent false letters, falsified and altered documents, and concealed and covered up
evidence of promotional activities including gifts and entertainment by K-Corp. for W-Drug,

including for unapproved uses.

18 U.S.C. § 1519
18 U.S.C. §2
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COUNT THREE
(False Statement)

1. Paragraphs | through 41 of the Introductory Allegations are incorporated here.

z, On or about February 28, 2003, in the District of Maryland and elsewhere, the

defendant,

LAUREN STEVENS,
in a matter within the jurisdiction of the FDA, an agency of the executive branch of the
government of the United States, knowingly and willfully falsified, concealed, and covered up by
a trick, scheme, and device a material fact and made a materially false, fictitious, and fraudulent
statement and representation, that is, she sent a letter to the FDA, which included the following
statements regarding K-Corp.'s activities from January 1, 2001, through October 9, 2002:

"K-Corp.] has not developed, devised, established, or maintained any program or
activity to promote or encourage, either directly or indirectly, the use of [W-Drug]
as a means to achieve weight loss or treat obesity."

* * *

"[K-Corp.|'s promotional material and activities for [W-Drug] are consistent with the
approved Prescribing Information and the supporting clinical data."

* * *

"As noted, [K-Corp.] has not developed or maintained promotional plans or
activities to directly or indirectly promote W-Drug for weight loss or the treatment
of obesity."

* * *

"{K-Corp.] has two types of advisory boards — National Advisory Boards and
Local Advisory Boards. ... [K-Corp.], through its field-based Market
Development Managers, has established Local Advisory Boards in certain sales
regions for the purpose of obtaining specific advice from health care professionals
in that locale for [W-Drug] and/or issues relating to the therapeutic area of
depression. Pursuant to [K-Corp.] policy, no sales region may have more than
two Local Advisory Boards, and no such board may meet more than twice per

"

year,

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3. In fact, STEVENS knew that K-Corp. had maintained programs and activities
that directly and indirectly promoted and encouraged the use of W-Drug as a means to achieve
weight loss and treat obesity and that K-Corp.'s promotional activities for W-Drug were not
consistent with the approved prescribing information.

4. In fact, STEVENS also knew that, in addition to national and local advisory
boards, K-Corp. held another type of advisory board, known as "special issue boards," relating to
W-Drug and that these special issue boards met significantly more than twice per year per sales

region.

18 U.S.C. § 1001
18 U.S.C. §2
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COUNT FOUR
(False Statement)

1; Paragraphs | through 41 of the Introductory Allegations are incorporated here.

Zs On or about March 28, 2003, in the District of Maryland and elsewhere, the
defendant,

LAUREN STEVENS,

in a matter within the jurisdiction of the FDA, an agency of the executive branch of the
government of the United States, knowingly and willfully falsified, concealed, and covered up by
a trick, scheme, and device a material fact and made a materially false, fictitious, and fraudulent
statement and representation, that is, she sent a letter to the FDA which included the following
statement regarding K-Corp.'s speaker program activities from January |, 2001, through October
9, 2002:

"Attendees were not paid, reimbursed, or otherwise compensated to attend these
events, with the exception of reimbursement for parking fees in some cases.”

3. In fact, STEVENS knew that K-Corp. had provided gifts and entertainment to the
attendees of these programs and had removed this information from a portion of the "Event

Spreadsheet” that she provided as an Appendix to this letter.

18 U.S.C. § 1001
18 U.S.C. §2

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COUNT FIVE
(False Statement)

1. Paragraphs | through 41 of the Introductory Allegations are incorporated here.

2. On or about May 21, 2003, in the District of Maryland and elsewhere, the
defendant,

LAUREN STEVENS,

in a matter within the jurisdiction of the FDA, an agency of the executive branch of the
government of the United States, knowingly and willfully falsified, concealed, and covered up by
a trick, scheme and device a material fact and made a materially false, fictitious, and fraudulent
statement and representation, that is, she sent a letter to the FDA which included the following
statements regarding K-Corp.'s activities from January 1, 2001, through October 9, 2002:

"| W]e systematically and carefully collected, reviewed and provided you with

extensive information and supporting documentation regarding [K-Corp.]’s

promotional and non-promotional activities relating to [W-Drug] and weight

loss. ... In the final analysis, all of the information consistently and clearly points

to the same conclusion — [K-Corp.] has not developed, devised, established, or

maintained any program or activity to promote, either directly or indirectly, the
use of [W-Drug] to achieve weight loss or treat obesity."

* KOK

"{K-Corp.]'s promotional material and activities for [W-Drug] are consistent with
the approved Prescribing Information and the supporting clinical data."

* KOK

"The extensive information that we have provided . . . objectively demonstrates that
[K-Corp.] has not engaged in the promotion of [W-Drug] for weight loss.”

* ok

"With this final submission, we complete our production of information and documents
in response to the requests in your letter dated October 9, 2002 and additional requests
raised in your teleconference with [K-Corp.] on January 21, 2003 concerning [W-Drug]."

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3, In fact, STEVENS knew that K-Corp. had collected information which showed
that K-Corp.'s paid speakers for W-Drug were presenting materials about unapproved uses of W-
Drug during promotional events sponsored by K-Corp. and that K-Corp. had maintained
programs and activities that directly and indirectly promoted W-Drug for weight loss and to treat
obesity.

4. STEVENS also knew that a substantial number of W-Drug promotional programs
and activities sponsored by K-Corp. from January 1, 2001, through October 9, 2002. contained
information that was not consistent with the approved prescribing information and supporting
clinical data.

5. STEVENS knew that K-Corp. had engaged in the promotion of W-Drug for
weight loss and that she had not provided to the FDA materials that showed that K-Corp.'s top
speakers for W-Drug were promoting W-Drug for weight loss and other unapproved uses, even
though the FDA had specifically requested such information and STEVENS had promised to

produce such information to the FDA.

18 U.S.C. § 1001
18 U.S.C. §2

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COUNT SIX
(False Statement)

1. Paragraphs | through 41 of the Introductory Allegations are incorporated here.

2; On or about November 6, 2003, in the District of Maryland and elsewhere, the
defendant,

LAUREN STEVENS,
in a matter within the jurisdiction of the FDA, an agency of the executive branch of the
government of the United States, knowingly and willfully falsified, concealed, and covered up by
a trick, scheme, and device a material fact and made a materially false, fictitious, and fraudulent
statement and representation, that is, she sent a letter to the FDA, which included the following
statement regarding K-Corp.'s activities from January 1, 2001, through October 9, 2002:

"Although there were isolated deficiencies, the objective evidence clearly

demonstrates that [K-Corp.] has not developed, maintained, or encouraged

promotional plans or activities to promote, directly or indirectly, [W-Drug] for

weight loss, the treatment of obesity, or any other unapproved indication."

3. In fact, STEVENS knew that K-Corp.'s deficiencies were not isolated, but rather
that K-Corp. had maintained extensive promotional plans and activities that directly and
indirectly promoted W-Drug for weight loss, the treatment of obesity, and other unapproved
indications, and that she had not provided to the FDA information that showed that K-Corp.'s top
speakers for W-Drug were promoting W-Drug for weight loss, the treatment of obesity, and other

unapproved indications, even though the FDA had specifically requested such information and

STEVENS had promised to produce the information to the FDA.

18 U.S.C. § 1001
18 U.S.C. §2

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A TRUE BILL:

SIGNATURE REDACTED

Pope of the Grand Jury

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CARMEN MILAGROS ORTIW
UNITED STATES ATTORNEY
DISTRICT OF MASSACHUSETTS

 

ASSISTANT UNITED STATES
ATTORNEY

Date: November $8, 2010

TONY WEST
ASSISTANT ATTORNEY GENERAL
U.S. DEPARTMENT OF JUSTICE

PATRICK JASPERSE
TRIAL ATTORNEY

OFFICE OF CONSUMER LITIGATION

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